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                                            Are We Doomed?

Video of Elizabeth Warren: This environmental catastrophe bearing down on us.

Stossel:                           I keep hearing that we’re killing the earth.

Video of Greta Thunberg:           How dare you. You have stolen my dreams, my childhood.

Stossel:                           But wait, I’ve been a consumer reporter for years. I’ve covered so
                                   many scares—plague, famine, and perpetual war will kill us, we’re
                                   going to run out of oil, nuclear power will give us cancer, killer
                                   bees swarm ever closer, bird flu, flesh eating bacteria—the list of
                                   terrible things that were going to get us is long. And yet we’re
                                   living, longer than ever. None of those scares turned out to be as
                                   frightening as the warnings. But I’m told global warming is
                                   different.

Video of Greta Thunberg:           Entire ecosystems are collapsing. We are in the beginning of a
                                   mass extinction.

Stossel:                           The alarmists have evidence that supports their fears. Temperature
                                   is rising. The U.N. predicts that it will rise another two to five
                                   degrees.

Video of woman activist:           What do we do when the land we live on is under attack?

Stossel:                           But does that justify the fear?

Video of woman activist:           Climate change is not a lie so please don’t let our planet die.

Stossel:                           Does it justify this claim?

Video of President Biden:          We have twelve years to act.

Video of Jonathan Bartley:         We have twelve years.

Video of Eric Swalwell:            We have twelve years before the effects are irreversible.

Stossel:                           Really? Twelve years?

Video of Pat Michaels:             It’s warmed up around one degree Celsius since 1900 and life
                                   expectancy doubled the industrialized democracies. And yet that
                                   temperature ticks up another half a degree and the entire system
                                   crashes. That’s the most absurd belief.

Stossel:                           I recently moderated this debate on climate change at the Heartland
                                   Institute. Well, not a debate, because the alarmists who were
                                   invited didn’t show. Heartland invited many.



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Video of Willie Soon:              Please come over here and sit next to that place and let’s have a
                                   discussion. There are a lot more people who want to hear what
                                   you have to say.

Stossel:                           Climate alarmists never agree to debate. We’d love to offer you
                                   the air time, we will give it to you. I’ll give you a special phone
                                   number that goes to this phone. I invited Al Gore on my show
                                   often but he would never come.

Video of Al Gore:                  In order to solve the climate crisis.

Stossel:                           He makes a lot of speeches but won’t respond to people who
                                   disagree. It’s too bad that the alarmists won’t debate because so
                                   much of what they say deserves debate.

Video of Rep. Ocasio-Cortez: The world is going to end in twelve years if we don’t address
                            climate change.

Video of Pat Michaels:             Twelve years.

Video of David Legates:            Well and in twelve it will be in twelve more years.

Stossel:                           David Legates is a professor of climatology at the University of
                                   Delaware. Pat Michaels is former president of the American
                                   Association of State Climatologists. Willie Soon is an
                                   astrophysicist.

Video of Willie Soon:              It’s all about arm waving, it’s about emotion, about sending out
                                   kids in protest, we have nothing to do with the science.

Stossel:                           This group pointed out that even if the planet warms by five
                                   degrees, humans can adjust. People in Holland did years ago.

Video of Pat Michaels:             They said, we’re going to adapt to the fact that we’re a low lying
                                   country and we’re going to build these dikes and we’re going to
                                   build these pumps. Are you telling me that the people in Miami
                                   are so dumb that they’re just going to sit there and drown?

Stossel:                           You acknowledge though that the water is rising.

Video of David Legates:            Yes, water has been rising for approximately 20,000 years and
                                   probably will continue –

Stossel:                           But we can adapt, like Holland has. Except, the alarmists say
                                   hurricanes and other storms are getting worse.

Video of Man:                      It’s getting stronger and stronger. The winds are getting harder
                                   and harder.


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Video of Pat Michaels:             No they aren’t. You can take a look at all the hurricanes around
                                   the planet—we can see them since 1970 because we got global
                                   satellite coverage—and we can measure their power and we can
                                   add up their power, and there is no significant increase whatsoever.
                                   There is no relationship between hurricane activity and the surface
                                   temperature of the planet.

Stossel:                           The claim that hurricanes are getting worse and the twelve year
                                   deadline were two of the four myths I heard the Heartland panel
                                   convincingly debunk. Myth number three was that government
                                   action today will save us.

Video of Pres. Obama:              We have to act now.

Video of Pat Michaels:             The Obama administration’s model projects that the amount of
                                   global warming that would be saved for going to zero emissions
                                   tomorrow—you don’t know how to do that, put you back in the
                                   stone age, but let’s just say we did it—would be fourteen
                                   hundredths of a degree Celsius.

Stossel:                           So no real effect on the climate, but –

Video of Pat Michaels:             You’ll sure have an impoverished dark country, won’t you?

Stossel:                           Myth number four, the idea that carbon dioxide is carbon pollution
                                   that just does harm and threatens the food supply.

Video of Pat Michaels:             There are places on earth where it is just greening up like crazy.

Video of David Legates:            So if you’re really concerned about the plants, more carbon
                                   dioxide makes them not just grow faster but also makes them more
                                   water efficient.

Stossel:                           Carbon dioxide is a greenhouse gas, but it also helps feed the
                                   world.

Video of David Legates:            A lot of people pretend to know about climate, pretend to have
                                   studied it, pretend to come up with these answers, and will make
                                   these proclamations to scare you so that you’ll do what we want
                                   you to do.

Stossel:                           But if what the alarmists say is not true, why would the
                                   International Panel on Climate Change, the United Nations, go
                                   along with the exaggerations?

Video of David Legates:            Governments like control. Most governments want to keep control
                                   and most governments get bigger and bigger over time.


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Stossel:                           IPCC does stand for Intergovernmental Panel on Climate Change.

Video of David Legates:            Carbon dioxide becomes that molecule by which we can take
                                   control of your lives, of your efforts, and everything that goes on.

Stossel:                           Are they right? It’s confusing when there are so many serious
                                   people who are so worried. I wish there were a real debate. Why
                                   won’t the other side debate?




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